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   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
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  12 GARY CHENG, Individually and On            Case No. 2:21-cv-06240-PA-JEM
  13 Behalf of All Others Similarly Situated,
                                                ORDER ON STIPULATED
  14                       Plaintiff,
                                                REQUEST TO SET HEARING
  15         v.                                 DATE AND SCHEDULE FOR
                                                OPPOSITION AND REPLY
  16 ACTIVISION BLIZZARD, INC.,
                                                BRIEFS FOR DEFENDANTS’
     ROBERT A. KOTICK, DENNIS
  17                                            MOTIONS TO DISMISS
     DURKIN, SPENCER NEUMANN,
  18 ARMIN ZERZA, and BRIAN KELLY,

  19                       Defendants.
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       [PROPOSED] ORDER ON STIPULATED                            2:21-CV-06240-PA-JEM
  28   REQUEST TO SET HEARING AND
       BRIEFING SCHEDULE
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   1         Good cause appearing, the stipulation of the Parties setting briefing and
   2   hearing dates for Defendants’ forthcoming motions to dismiss the Amended Class
   3   Action Complaint is accepted, and it IS HEREBY ORDERED that
   4         1.    The hearing on Defendants’ motions to dismiss will be set for
   5   February 28, 2022;
   6         2.    Plaintiffs will file papers in opposition to the motions to dismiss on or
   7   before February 2, 2022; and
   8         3.    Defendants will file reply papers in further support of their motions to
   9   dismiss on or before February 14, 2022.
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  11   IT IS SO ORDERED.
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  13   Dated: January 4, 2022                         By:
                                                                  Percy Anderson
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                                                             United States District Judge
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       [PROPOSED] ORDER ON STIPULATED                                    2:21-CV-06240-PA-JEM
  28   REQUEST TO SET HEARING AND
       BRIEFING SCHEDULE
